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EXHIBIT D
                         Case 4:21-cv-02041-KM Document
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1                  IN THE UNITED STATES DISTRICT COURT                   1                                INDEX TO WITNESSES
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
2                                                                        2    CLINTON GARDNER             DIRECT CROSS REDIRECT RECROSS
     ANTHONY BARASKY,                   :
3                 Plaintiff                                              3    Examination by:
                                        :
4                                                                        4     Mr. Gryskewicz               4            --       --       --
          vs.                           :
5                                                                        5     Mr. Kozlowski                --           42       --       --
                                        :
6    KEVIN DENT, TYSON HAVENS,              CASE NO. 4:21-CV-02041       6
     JOSHUA BELL, CLINTON               :
7    GARDNER, CHRISTOPHER                                                7
     KRINER, JOSEPH HOPE,               :
8    LYCOMING COUNTY, OLD                                                8
     LYCOMING TOWNSHIP; and             :
9    CITY OF WILLIAMSPORT,                                               9
                     Defendants         :
10                                                                       10

11                                                                       11

12                                                                       12

13              Deposition of:       CLINTON GARDNER                     13                                INDEX TO EXHIBITS
14              Taken by         :   Plaintiff                           14   FOR - PLAINTIFF                                     MARKED ADMITTED
15              Before           :   Ervin S. Blank                      15   Plaintiff's Exhibit No. 1                            37      --
                                     Reporter-Notary Public
16                                                                       16   Plaintiff's Exhibit No. 2                            20      --
                Beginning        :   April 10, 2024; 10:00 a.m.
17                                                                       17
                Place            :   McCormick Law Firm
18                                   835 West Fourth Street              18
                                     Williamsport, Pennsylvania
19                                                                       19

20                                                                       20

21                                                                       21

22   COUNSEL PRESENT:                                                    22

23       LEONARD GRYSKEWICZ, JR., ESQUIRE                                23
         Lampman Law
24       2 Public Square                                                 24
         Wilkes-Barre, Pennsylvania 18701
25            For - Plaintiff                                            25


                                                                     2                                                                              4
1    COUNSEL PRESENT: (CONTINUED)                                        1                                   STIPULATION
2        STEPHEN C. HARTLEY, ESQUIRE                                     2                It is hereby stipulated by and between
         McCormick Law Firm
3        835 West Fourth Street                                          3    counsel for the respective parties that signing,
         Williamsport, Pennsylvania 17701
4              For - Defendants Kevin Dent and Tyson Havens              4    sealing, certification and filing are hereby waived;
5        SHAWNA R. LAUGHLIN, ESQUIRE                                     5    and that all objections except as to the form of the
         William J. Ferren & Associates
6        P.O. Box 2903                                                   6    question are reserved to the time of trial.
         Hartford, Connecticut 06104-2903
7              For - Defendants Joshua Bell, Clinton Gardner             7
                  and City of Williamsport
8                                                                        8                                       *   *        *
         MARK J. KOZLOWSKI, ESQUIRE
9        Marshall Dennehey                                               9
         P.O. Box 3118
10       Moosic, Pennsylvania 18507                                      10               CLINTON GARDNER, called as a witness, having
              For - Defendants Old Lycoming Township,
11                Joseph Hope and Christopher Kriner                     11   been duly sworn or affirmed, testified as follows:
12                                                                       12                               DIRECT EXAMINATION
13                                                                       13   BY MR. GRYSKEWICZ:
14                                                                       14         Q     Mr. Gardner, I'm going to give you some brief
15                                                                       15   instructions I'm sure your attorney may have already
16                                                                       16   given you. I'm sure you testified before as a police
17                                                                       17   officer, but if you don't understand a question I ask,
18                                                                       18   let me know, I could rephrase it. If you don't know
19                                                                       19   or don't remember a response to a question, that is
20                                                                       20   also a fine answer. I don't want you to speculate
21                                                                       21   about what happened. If you need a break at any
22                                                                       22   point, you can let us know. And, of course, just
23                                                                       23   remember you're under oath. Okay?
24                                                                       24         A     Yes, sir.
25                                                                       25         Q     Do you have any questions before we begin?


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1          A     No, sir.                                           1         A      Yes.
2          Q     Could you state and spell your name for the        2         Q      Okay. When you were working with the NEU,
3    record for us?                                                 3    were you specifically employed by Lycoming County or
4          A     Clinton Gardner. C-L-I-N-T-O-N,                    4    the City of Williamsport?
5    G-A-R-D-N-E-R. Sorry. I'll slow down.                          5         A      The City of Williamsport.
6          Q     Have you ever been deposed before?                 6         Q      How was it that you came to work with the NEU
7          A     Yes.                                               7    even though you were a Williamsport Bureau of police
8          Q     How many times?                                    8    officer?
9          A     Once.                                              9         A      Through special assignment.
10         Q     Where are you currently employed?                  10        Q      And could you tell us you that special
11         A     I'm currently employed with a nonprofit,           11   assignment worked?
12   Lantern Rescue, and then part time with Montoursville          12        A      I was approached by the chief at the time and
13   police department.                                             13   asked if I was interested in working full time with
14         Q     How old are you today?                             14   the narcotics unit. I had done a lot of drug work on
15         A     36.                                                15   patrol.
16         Q     And how were you employed on October 1st of        16        Q      Okay. And when you were loaned to the NEU,
17   2020?                                                          17   what was your rank with the NEU?
18         A     With the Williamsport police.                      18        A      It was just officer.
19         Q     And how long have you been a police officer        19        Q      And then what was the working hierarchy
20   as you sit here today?                                         20   within the NEU when you were first assigned to it?
21         A     About nine -- well, starting into my ninth         21        A      Mike Simpler was the chief detective, and
22   year as of November.                                           22   then Josh Bell was supervisor, and then everybody else
23         Q     Okay. So that would be -- November, 2024           23   was just either detective or officer.
24   would be your ninth year?                                      24        Q      And would have detective or officer been the
25         A     Yeah.                                              25   higher rank or was there even a difference between

                                                                6                                                                    8
1          Q     Okay.                                              1    them within it?
2          A     Or sorry. November of last year.                   2         A      I don't think there is a difference.
3          Q     November of 2023? Okay. That's why I ask.          3         Q      So you would have had the same rank
4    Sometimes it's not clear with it so -- yep.                    4    essentially as Detective Kevin Dent or Detective Tyson
5                In October of 2020, you said you were a            5    Havens?
6    police officer with the Williamsport Bureau of Police?         6         A      Yeah. I don't know.
7          A     Yes, sir.                                          7         Q      Okay. For the Sumpter and Barasky
8          Q     And were you also working for the Lycoming         8    investigations in and around 2020, were you acting as
9    County Narcotics Enforcement Bureau at the time?               9    a member of the NEU or the Williamsport Bureau of
10         A     Yes.                                               10   Police?
11         Q     And organization is often referred to as the       11        A      I mean, technically both since Williamsport's
12   NEU?                                                           12   my employer, but as a member of the NEU, yes, in that
13         A     Yes.                                               13   capacity.
14         Q     And you can feel free to refer to it as that       14        Q      What were your normal roles and duties with
15   during this deposition. I believe when I reviewed              15   the NEU in 2020?
16   your resume, it said you were full time with the NEU           16        A      They would vary. I would utilize
17   from January of 2020 until September of 2022, is that          17   confidential informants to conduct controlled
18   correct?                                                       18   purchases of narcotics, and I would also do
19         A     Yes, sir.                                          19   interdiction in an unmarked police car.
20         Q     Okay. Why did you leave the NEU in September       20        Q      Were you still doing like patrol work for the
21   of 2022?                                                       21   City of Williamsport at the time or no?
22         A     I was offered the intelligence officer             22        A      No.
23   position at the city.                                          23        Q      Did you have any involvement in a controlled
24         Q     Okay. And when you say the city, do you mean       24   buy that involved Matthew Sumpter in April of 2020?
25   Williamsport?                                                  25        A      Not that I recall.


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1             Q   Okay. I'll direct your attention to                  1    search warrant on Mr. Sumpter's house out of the
2    September 24th of 2020. Were you involved in the                  2    ordinary?
3    search warrant that was executed on Matthew Sumpter's             3          A     I don't.
4    house that day?                                                   4          Q     When I say out of the ordinary, I assume that
5             A   Yes.                                                 5    there's always some concern for police officer safety
6             Q   Could you tell us what your involvement was          6    when you serve a search warrant; is that right?
7    in it?                                                            7          A     Yes, sir.
8             A   Residential clearing. By clearing, I mean            8          Q     Would you agree with me that burglary is a
9    clearing for either suspects or individuals to secure             9    violent crime?
10   the residence, and then they searched after.                      10         A     I would not.
11            Q   Okay. And I know you were saying like                11         Q     If you found that somebody had a burglary
12   residential clearing. Were you inside the house or                12   conviction on their criminal record prior to executing
13   outside the house looking for people or both?                     13   a search warrant, would it give you any pause or
14            A   Inside the house.                                    14   heightened concern for your safety doing the search
15            Q   Okay. Did you have any interactions with Mr.         15   warrant?
16   Sumpter that day?                                                 16         A     May I ask if this is personal opinion or --
17            A   I don't recall if I did.                             17         Q     Based on your training and experience as a
18            Q   Prior to executing that search on Mr.                18   police officer.
19   Sumpter's house, were you briefed by any other members            19         A     Okay. Not necessarily, no.
20   of the NEU about where their investigation was into               20         Q     Okay. On September 24th, 2020, did Detective
21   Mr. Sumpter at that point?                                        21   Dent or anybody else inform you that Mr. Sumpter was
22            A   I don't recall if I was.                             22   offering to provide information to the NEU?
23            Q   And do you recall if you had any, you know,          23         A     I don't recall.
24   conversations with Mr. Sumpter either when he was                 24         Q     After the search on Mr. Sumpter's house on
25   arrested or after he was arrested on September 24th?              25   September 24th, 2020, did you have any involvement in

                                                                  10                                                                    12
1             A   I do not.                                            1    the Sumpter investigation between that day, September
2             Q   Prior to September 24th, did you have any            2    24th, till October 2nd of 2020?
3    involvement in the investigation into Mr. Sumpter?                3          A     After the search warrant?
4             A   I don't recall, no.                                  4          Q     Yes.
5             Q   Would you have been aware of Mr. Sumpter's           5          A     Yes.
6    criminal record prior to the execution of the search              6          Q     Could you tell us what that involvement was?
7    warrant on his house?                                             7          A     The arrest of Mr. Barasky.
8             A   I don't recall if I was.                             8          Q     Okay. So I'd represent to you that that
9             Q   When you went to execute the search warrant,         9    happened on October 2nd. So prior to developing the
10   would Detective Dent or any other officer would have              10   plan to arrest Mr. Barasky, did you have any
11   showed you the search warrant or their affidavits                 11   involvement with Mr. Sumpter between September 24th
12   supporting it prior to the search?                                12   and October 2nd?
13            A   I'll say typically we do -- we do do a brief.        13         A     Sorry. In between that?
14   We do observe like if there's a warrant, whether it be            14         Q     Yes.
15   arrest warrant or search warrant, but I don't                     15         A     Not that I recall.
16   recall --                                                         16         Q     Okay. Now, prior to October 2nd of 2020, did
17            Q   Okay.                                                17   you have any interactions with Anthony Barasky?
18            A   -- for this particular instance.                     18         A     No.
19            Q   What other police officers were present              19         Q     So when was the first time you learned of
20   during the search of Matthew Sumpter's house on                   20   Detective Dent's investigation into Barasky that
21   September 24th of 2020?                                           21   ultimately culminated in his arrest on October 2nd of
22            A   Dent, Bell, Havens are the only three that I         22   2020?
23   remember specifically.                                            23         A     It would have been that day.
24            Q   Okay. Do you recall if police had any                24         Q     Okay. And who would've --
25   concerns for their safety when they were serving the              25         A     I'm sorry.


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1         Q      Go ahead.                                            1          Q     Um-hum.
2         A      By that day, I mean the day of the search            2          A     Typically like criminal histories would be
3    warrant.                                                         3    discussed, safety concerns, things of that nature.
4         Q      October -- oh, September 24th of 2020 when           4    But I don't recall specifically for this one, like
5    you searched Mr. Sumpter's house?                                5    where it was or --
6         A      Correct. That day, yes.                              6          Q     Okay. But the normal operating procedure of
7         Q      And what would you have learned about Mr.            7    the NEU would have been to discuss criminal histories,
8    Barasky that day on September 24th?                              8    other things surrounding the case before the buy/bust?
9         A      That they were -- they wanted to do a                9          A     Correct.
10   purchase, but to stop him before the purchase                    10         Q     And when you say discuss criminal histories,
11   occurred.                                                        11   would that be of both the informant and the suspect
12        Q      And when you say they wanted to do the               12   you intended to arrest?
13   purchase, who's they?                                            13               MS. LAUGHLIN: Object to form, but you can
14        A      It would have been Detective Dent.                   14   answer.
15        Q      And why did he want to stop Mr. Barasky              15               THE WITNESS: It would depend, up to the case
16   before the purchase occurred?                                    16   officer.
17        A      I know there were -- I don't know.                   17   BY MR. GRYSKEWICZ:
18        Q      Okay. So then between September 24th of 2020         18         Q     Were you present at any meeting at the NEU
19   and let's say October 1st of 2020, the day before Mr.            19   headquarters prior to going to the Old Lycoming
20   Barasky's arrest, did you have any involvement in an             20   Township for the traffic stop of Mr. Barasky on
21   investigation into Mr. Barasky in those days?                    21   October 2nd?
22        A      No.                                                  22         A     I don't recall.
23        Q      Then on October 2nd, 2020, how were you first        23         Q     Prior to Mr. Barasky's arrest on October 2nd,
24   contacted about the plan to arrest Mr. Barasky?                  24   were you ever made aware of Mr. Sumpter's criminal
25        A      I don't recall how exactly I was contacted.          25   record?

                                                                 14                                                                    16
1         Q      How did the plan come together on October 2nd        1          A     Not that I recall.
2    to arrest Mr. Barasky?                                           2          Q     What was your understanding -- strike that.
3         A      As far as --                                         3    Was Mr. Sumpter going to be a confidential informant
4         Q      Where did you first meet with everybody to,          4    or a confidential source on the day of Anthony
5    you know, discuss the case?                                      5    Barasky's arrest?
6         A      I don't remember where we met.                       6          A     I don't know.
7         Q      Okay. Did you discuss the case with                  7          Q     Were you informed of when Mr. Sumpter
8    Detective Dent that day?                                         8    allegedly last purchased heroin from Mr. Barasky?
9         A      I don't know if I did specifically with him.         9          A     I don't recall.
10        Q      Did you do it with anybody else that you             10         Q     Do you recall if Detective Dent ever informed
11   remember?                                                        11   you that he couldn't identify Barasky's voice in any
12        A      I mean, I had to have.                               12   of the phone calls, other than what the confidential
13        Q      Okay.                                                13   informant told him, before Mr. Barasky's arrest?
14        A      I just don't remember.                               14         A     I do not.
15        Q      You just don't remember specifically --              15         Q     And that's a you don't recall, right? I
16        A      I don't recall.                                      16   phrased that question kind of --
17        Q      -- who you might have talked to?                     17         A     Yes.
18        A      Correct.                                             18         Q     -- strange. Okay.
19        Q      Now, with the NEU, was it typically a                19               Do you recall a meeting at the Old Lycoming
20   collaborative process where you'd have worked with the           20   Township police station where a plan was created to
21   other officers?                                                  21   arrest Mr. Barasky?
22        A      Yeah. Typically, like I said, if we were             22         A     I do not.
23   doing -- like what this would be called a buy/bust --            23         Q     Do you know if you were ever present at the
24   I used the quotations. Sorry. It would -- there                  24   Old Lycoming Township police station on October 2nd,
25   would be a briefing beforehand.                                  25   2020?


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1         A       Yes.                                                 1    have been relayed to you?
2         Q       And would that have been before or after Mr.         2             A   Prior to the stop.
3    Barasky's arrest?                                                 3             Q   Okay. Was anybody else assigned to the
4         A       I know I was there after.                            4    vehicles that were actually going to initiate the
5         Q       What was the role you were assigned in Mr.           5    traffic stop on Mr. Barasky?
6    Barasky's arrest on October 2nd, 2020?                            6             A   Yes, sir.
7         A       I was one of the cars that would be                  7             Q   And who was that?
8    initiating the stop, and then transport.                          8             A   Josh Bell. I was with him. He drove our
9         Q       And how was it decided you were going to be          9    vehicle. And Chief Hope of Old Lycoming.
10   one of the cars initiating the stop?                              10            Q   And was Chief Hope in a different vehicle?
11        A       I don't know. I don't recall. Sorry.                 11            A   Yes, sir.
12        Q       Based on typical NEU policies and procedures,        12            Q   While you were stationed waiting for Mr.
13   would it have been assigned, you know, sometime in a              13   Barasky to come into the area, were you, Josh Bell and
14   collaborative fashion before the traffic stop?                    14   Chief Hope in the same area waiting?
15        A       Correct.                                             15            A   I don't know where Chief Hope was stationed.
16        Q       And that collaborative fashion would have            16            Q   Okay. Obviously Josh Bell would have had to
17   been between the NEU officers?                                    17   be with you because you're in the same car?
18        A       Yeah, and whoever would be assisting with            18            A   Yes.
19   that investigation.                                               19            Q   Do you recall how you were notified that Mr.
20        Q       Okay. So sometimes the NEU would involve a           20   Barasky was in the general area of your vehicle on
21   local police department in your investigations?                   21   October 2nd, 2020?
22        A       Correct.                                             22            A   I do not.
23        Q       And in this case do you recall if that was           23            Q   Do you recall if Chief Hope's car was in
24   Old Lycoming Township police?                                     24   front of yours when the traffic stop of Mr. Barasky's
25        A       Yes, sir.                                            25   vehicle was initiated or not?

                                                                  18                                                                    20
1         Q       Okay. So the Old Lycoming Township police            1             A   Yes.
2    officers would have been involved in creating the plan            2             Q   So his vehicle -- Chief Hope would have been
3    to arrest Mr. Barasky?                                            3    in front of your vehicle?
4         A       I don't know if they would have been involved        4             A   Yes.
5    in the plan, but they're typically notified. The                  5             Q   Could you describe for us how, you know, the
6    agencies -- sorry. Whatever jurisdiction we're in,                6    whole traffic stop happened?
7    the agencies are typically notified.                              7             A   I'll do the best I can. I know that Chief
8         Q       Okay. Who was the lead investigator into Mr.         8    Hope was ahead of us and that he had activated his
9    Barasky, to the best of your knowledge, on October                9    lights pretty early. Caught up to him and then we
10   2nd, 2020?                                                        10   initiated the stop. I think prior to -- I don't
11        A       Kevin Dent.                                          11   remember the name of the road, but it was like one way
12        Q       Prior to Mr. Barasky's arrest on October 2nd,        12   in, one way out to the community where Mr. Sumpter
13   did anyone show you Mr. Barasky's prior criminal                  13   lived.
14   record?                                                           14                (Whereupon, a document was produced and
15        A       I don't recall.                                      15   marked as Plaintiff's Exhibit No. 2 for
16        Q       Did anybody voice any concerns to you that           16   identification.)
17   Mr. Barasky might be a flight risk during the arrest?             17   BY MR. GRYSKEWICZ:
18        A       Yes.                                                 18            Q   I'm going to show you what's marked as
19        Q       Okay. Could you tell us about that?                  19   Plaintiff's Exhibit 2. It's out of order. Take a
20        A       There were -- I know there was a concern that        20   look at that and let me know when you've taken a look
21   there was a history of flight.                                    21   at it.
22        Q       And do you recall who would have told you            22            A   Is this Eckard Road? I can't tell.
23   about that concern?                                               23            Q   I'll represent to you that Eckard Road is --
24        A       I don't.                                             24                MS. LAUGHLIN: So it will come around over
25        Q       And do you recall when that concern would            25   here to get to the name, but --


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1                 THE WITNESS: Okay. So I think we were down           1          A     Yeah.
2    here -- Josh and I, sorry, near Roan's RV at the                  2          Q     -- where the traffic stop occurred?
3    intersection of Eckard and Old Lycoming.                          3          A     He activated them pretty early on from when
4    BY MR. GRYSKEWICZ:                                                4    he pulled out into this kind of straight stretch
5          Q      Okay. So would you agree with me that this           5    before -- I think I recall this bend.
6    is a depiction from Google maps of the general area               6          Q     Okay. Do you know where Mr. Barasky would
7    where the traffic stop of Anthony Barasky occurred on             7    have brought his vehicle to a stop?
8    October 2nd, 2020?                                                8          A     I know it was the road prior to the --
9          A      Yes.                                                 9    entering the development that Sumpter lives.
10         Q      I'm going to -- I will give you my pen.              10         Q     Okay.
11         A      Thank you.                                           11         A     But I don't know what road that is.
12         Q      Could you mark on that map with an X where           12         Q     Okay. Would you agree with me that Mr.
13   you and Detective Bell were waiting for Mr. Barasky?              13   Sumpter's house is in the general area of the red
14         A      I don't know exactly where, but it would have        14   marker on the map? Okay. If you don't know, you
15   been this general vicinity (indicating).                          15   don't know.
16         Q      Okay. And you circled the RV business in             16         A     I don't know.
17   that area?                                                        17         Q     Okay. But to your recollection, Mr. Barasky
18         A      Yes, sir.                                            18   stopped his vehicle before he turned into --
19         Q      Okay.                                                19         A     It was --
20         A      It was a gravel lot.                                 20         Q     -- Mr. Sumpter's development?
21         Q      And do you know if Chief Hope was in that            21         A     Yes, I do know it was before the development.
22   area or no?                                                       22         Q     Okay. And would you agree with me that the
23         A      He would have had to have been close, but I          23   plan was to stop Mr. Barasky before he got into that
24   don't know exactly where he was because he pulled out             24   development?
25   before us.                                                        25         A     Yes.

                                                                  22                                                                    24
1          Q      Okay. Did you know where Mr. Sumpter's house         1          Q     So you guys didn't want him to turn into that
2    was when you initiated the traffic stop of Mr.                    2    development at all?
3    Barasky's vehicle?                                                3          A     Yeah. To my recollection, the plan was to
4          A      Did -- I mean, I was there.                          4    stop before he entered the development.
5          Q      Okay.                                                5          Q     Okay. Do you recall where any of the other
6          A      I don't know this area well. It's not --             6    officers were stationed at the time besides yourself,
7          Q      Okay.                                                7    Josh Bell and Chief Hope?
8          A      -- primarily where I work. Sorry.                    8          A     I do not.
9          Q      No. That's okay. Could you put like an X on          9          Q     Okay.
10   the map where you believe Chief Hope would have                   10               MS. LAUGHLIN: And if we can clarify for the
11   initiated his emergency lights?                                   11   record.
12         A      It would have been, I think, in this little          12               MR. GRYSKEWICZ: Um-hum.
13   straight stretch pulling out onto the road.                       13               MS. LAUGHLIN: There are two circles on the
14         Q      Okay. And maybe if you --                            14   map. One is of Roan's RV, which is where the vehicle
15         A      It's that --                                         15   was prior to the stop. And then the second circle
16         Q      Since it's like a general area, if you could         16   that encompasses part of Eckard Road and what's
17   just like drawn a line next to the general area you               17   probably a river or stream that's noted in blue, is
18   think it might have happened in?                                  18   the area -- general area where the lights were
19         A      If this is the right road.                           19   activated on Chief Hope's vehicle.
20         Q      Would you agree the traffic stop happened on         20               MR. GRYSKEWICZ: I agree with that.
21   Eckard Road?                                                      21   BY MR. GRYSKEWICZ:
22         A      Yes.                                                 22         Q     Now, would you agree with me that Mr. Barasky
23         Q      Okay. So, yeah, as long as that's Eckard             23   didn't flee once Chief Hope turned on his emergency
24   Road, you would think that would be like the general              24   lights on his vehicle?
25   area --                                                           25         A     I would agree.


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1            Q    What happened after Mr. Barasky's vehicle was        1    frame are you looking at --
2    stopped?                                                          2           Q    So --
3            A    A felony stop was conducted, but I -- I don't        3           A    -- as far as arrested?
4    remember all the details of what occurred during that             4           Q    -- when he's basically at the scene of the
5    stop.                                                             5    traffic stop there, did you speak with Mr. Barasky at
6            Q    When you say a felony stop was conducted,            6    all?
7    what do you mean by that?                                         7           A    No, I don't recall that. No.
8            A    So a felony stop would be generally firearms         8           Q    Okay. After he was arrested and taken from
9    are out. Commands are given to the driver and/or                  9    the scene of the traffic stop, did you talk to Mr.
10   passengers in a specific manner to exit the vehicle or            10   Barasky at all?
11   to stay in place. Sorry.                                          11          A    Yes.
12           Q    So that would be different than a normal             12          Q    Could you tell us about that?
13   traffic stop where you walk up to a window and ask for            13          A    I don't recall the specific conversation, but
14   a driver's license, registration, insurance, something            14   I know it was a casual conversation. And I know it
15   like that?                                                        15   was more than was once. I know in the holding cell, I
16           A    Yes, sir.                                            16   had a casual conversation with him, but there was
17           Q    So there would have been no asking Mr.               17   nothing along the lines of like asking anything about
18   Barasky for his license or insurance, it would have               18   the case that I recall.
19   been immediate orders to get out of the car?                      19          Q    Okay. And a casual conversation, what would
20           A    I don't know what the immediate orders were,         20   you mean by that?
21   but yes --                                                        21          A    Just --
22           Q    Okay.                                                22          Q    Small talk?
23           A    -- it would have been different than just            23          A    Small talk. Yeah.
24   walking up and asking for a license.                              24          Q    So nothing about the case would have been
25           Q    Okay. So to the best of your recollection            25   said between either of you?

                                                                  26                                                                    28
1    there would have been, you know, some officers with               1           A    Not that I recall, no.
2    firearms drawn and some orders given for Mr. Barasky              2           Q    Okay. Do you recall if you were present when
3    to exit the vehicle?                                              3    Mr. Barasky was arraigned by the magistrate?
4            A    I don't know -- again, I don't know what             4           A    I don't think I was.
5    specific orders, but, yes, orders and firearms, yes.              5           Q    Did you have any involvement in asking Mr.
6            Q    Okay. Do you know what your role would have          6    Barasky to be placed in a dry cell at the Lycoming
7    been at that time?                                                7    County Prison?
8            A    I don't.                                             8           A    I don't think. I don't believe, no.
9            Q    Okay. So you don't recall if you had a               9           Q    After Mr. Barasky was arrested, did you have
10   firearm drawn?                                                    10   any involvement in him being transported from the
11           A    I honestly don't. No.                                11   scene of the traffic stop to the Old Lycoming Township
12           Q    Okay. And I'm not trying to harass you or            12   police station?
13   anything.                                                         13          A    Yes.
14           A    No.                                                  14          Q    Could you tell us what that involvement was?
15           Q    I just want to make sure it's clear for the          15          A    It was -- Josh and I transported him from the
16   record. Yep.                                                      16   scene to Old Lycoming.
17                So would you agree Mr. Barasky was arrested          17          Q    Okay.
18   without incident then?                                            18          A    It wasn't that far of a drive.
19           A    Yes.                                                 19          Q    Okay. Did you transport Mr. Barasky then
20           Q    So he didn't resist you guys at all?                 20   eventually from the Old Lycoming Township police
21           A    Not that I recall.                                   21   station to the Williamsport Bureau of Police as well?
22           Q    Do you recall if you spoke with Mr. Barasky          22          A    I don't recall if I did.
23   at all when he was arrested?                                      23          Q    Do you recall if you drove Mr. Barasky to the
24           A    I don't recall if I spoke when he was                24   Lycoming County Prison that day?
25   arrested. In -- sorry. I'll clarify. What time                    25          A    Again, I don't recall.


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1         Q      So after Mr. Barasky was arrested and taken          1             Q   Can you explain when you as a police officer
2    to the Old Lycoming Township police station on October           2    would believe that charge should be filed against a
3    2nd, did you have any involvement in the investigation           3    person?
4    or Mr. Barasky's case after that?                                4             A   If they're using some type of digital device,
5         A      No.                                                  5    such as a phone, tablet, computer, just a couple
6         Q      So you didn't have any involvement in the            6    examples, in furtherance of criminal activities, such
7    search of Mr. Barasky's vehicle?                                 7    as like drug dealing, human trafficking, and -- just a
8         A      Not that I recall.                                   8    couple examples.
9         Q      Would you agree with me that you knew that           9             Q   Okay. In your career have you ever charged
10   there were no drugs found on Mr. Barasky's person when           10   someone with criminal use of a communication facility
11   he was arrested on October 2nd?                                  11   and no other crime, excluding traffic offenses?
12        A      Yes.                                                 12            A   Not that I recall.
13        Q      Were you informed that there were no drugs           13            Q   Okay. Have you ever charged someone with the
14   found in Mr. Barasky's vehicle when it was ultimately            14   attempted delivery of a controlled substance in your
15   searched?                                                        15   career?
16        A      I don't recall at that time if I was.                16            A   I believe so.
17        Q      Were you present with Detective Dent or              17            Q   And you've used confidential informants
18   Detective Havens when they were investigating the cell           18   before during your career as a police officer, right?
19   phone taken off Mr. Barasky's person during the                  19            A   Yes.
20   arrest?                                                          20            Q   What are you taught through your training and
21        A      I don't believe so.                                  21   experience that you must do to make sure an informant
22        Q      As part of drug investigations, would you            22   is reliable in a drug case?
23   agree with me that police officers often will observe            23            A   You vet their criminal history. We had
24   a drug transaction with a confidential informant and             24   several forms that we would use if we're signing them
25   then arrest the drug dealer at a later time?                     25   up. Ask questions such as, you know, are you

                                                                 30                                                                     32
1         A      I'm sorry. Could you say that one more time?         1    currently using. You know, in the past how much have
2         Q      Absolutely. As part of drug investigations           2    you used. What types of narcotics. And then
3    you conduct, would you agree that police or yourself             3    depending on criminal history, ask about those crimes.
4    would oftentimes observe drug transactions between a             4    A big thing for me was, I mean, with a confidential
5    confidential informant and a suspected drug dealer and           5    informant, if I was looking to sign them up, depending
6    then arrest the drug dealer at a later time?                     6    on why they were there that day, like you got to own
7         A      Yes.                                                 7    what you're there for kind of thing.
8         Q      Do you know why that option wasn't chosen for        8             Q   Now, you mentioned that you would review
9    Anthony Barasky on October 2nd, 2020?                            9    their criminal history. What would their criminal
10        A      I do not.                                            10   history tell you about whether an informant would be
11        Q      In your experience as a police officer, how          11   reliable or not?
12   many arrests would you estimate you've made?                     12            A   I'd look specifically -- big red flags for me
13        A      For drugs or like ever?                              13   would be like false ID, perjury, like those types of
14        Q      Everything.                                          14   crimes.
15        A      Oh, man. Just in drugs alone, hundreds. I            15            Q   Would you include theft crimes in that?
16   can't put a number --                                            16            A   It depends. Most drug users -- I would say
17        Q      Okay.                                                17   in my experience, a lot of them of theft crimes on
18        A      Hundreds just in drugs.                              18   their record, so it wouldn't necessarily exclude for
19        Q      Hundreds just in drugs. Okay. My next                19   theft.
20   question was going to be how many drug crimes have you           20            Q   You also mentioned you'd be asking the
21   made arrests for, so that answers that.                          21   informant if they're currently using drugs. Is that
22               So are you familiar with the criminal use of         22   right?
23   a communication facility charge under 18 PACS 7512               23            A   Yes, sir.
24   Subsection A of the Crimes Code?                                 24            Q   What would that inform you if they're
25        A      Yes, sir.                                            25   currently using drugs or not?


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1         A       Honesty, because, I mean, if they're a drug          1            Q    I'm going to ask you a hypothetical question.
2    user and they're there, they're probably because                  2    Let me know if it doesn't make sense to you at any
3    they're using drugs or trying to buy drugs.                       3    point. So you have a confidential informant that has
4         Q       Okay. If somebody's actively under the               4    never provided you with information before. He tells
5    influence of a controlled substance, would that affect            5    you he can get someone to deliver drugs to him. He
6    your opinion on if they would be a reliable informant             6    sets up the drug transaction through text messages and
7    or not?                                                           7    phone calls in your presence. The suspected dealer
8         A       As far as -- actively as far as --                   8    arrives at the location, interacts with your informant
9         Q       Let's say they used heroin the day you're            9    and then leaves. And then you find out from your
10   speaking with them.                                               10   informant that the drug dealer had no drugs and no
11        A       It would depend when.                                11   delivery actually occurred. Would you still charge
12        Q       Okay. So you would have to gauge their level         12   that suspected drug dealer with criminal use of a
13   of impairment?                                                    13   communication facility in that scenario?
14        A       Yes.                                                 14           A    It would depend on different -- more than
15        Q       All right. Did there ever come a point in            15   that, more than what I was just told.
16   your career when you were speaking with an informant              16           Q    Okay. So you would have to look -- what
17   and you decided not to use them because they were too             17   other things would you be looking for besides what you
18   impaired?                                                         18   were just told?
19        A       Not that I recall.                                   19           A    Was money owed. You know, ask him why there
20        Q       In your experience, if an informant has never        20   wasn't a delivery that occurred. Go more into depth
21   provided you with accurate information before, is                 21   of have they used that number in the past. Have they
22   there anything different you're supposed to do to                 22   seen that specific dealer in the past, because it --
23   determine if that informant is reliable?                          23   it's not uncommon for dealers -- multiple dealers to
24        A       If they've never provided before, I would            24   have the same number. Let me think.
25   look to build upon the credibility from that day.                 25           Q    Would it be fair to say that's not an

                                                                  34                                                                     36
1    That was why -- one of the big things I would look for            1    exhaustive list?
2    is why are you sitting here with me today. Like what              2            A    No, it's not. Okay. Thank you.
3    crime did you commit -- likely -- what likely crime               3            Q    So you would be -- so you would be looking at
4    did you commit to be here to sign up as a confidential            4    everything. You'd need the totality of the
5    informant.                                                        5    circumstances?
6         Q       And you'd say you'd try to build their               6            A    Yes, sir.
7    credibility. How would you do that?                               7            Q    If another police officer tells you that they
8         A       As far as what?                                      8    need assistance with an arrest, are you trained to
9         Q       What steps would you take as a police officer        9    seek any information from that police officer to make
10   to try to build their credibility so you know, you                10   sure they have probable cause to arrest?
11   know, they're possibly telling the truth?                         11           A    Limited, yeah.
12        A       Corroborate information. A lot of drug users         12           Q    And what do you mean by limited?
13   interact with similar dealers or other drug users, so             13           A    And -- sorry. And circumstantial.
14   I would ask about what dealers do you know, what other            14           Q    What do you mean by that?
15   users do you know. You know, even as far as like                  15           A    So let's say a cop is saying shots fired,
16   pricing and weights, what's their knowledge on that.              16   like that's kind of obvious. So it's just
17   Are they honest with that. Street terms. Like I                   17   circumstantial to the case. Like what is occurring,
18   said, with talking to them, why they're currently                 18   you know, how much time do we have, how many questions
19   sitting there. Like are they honest about that.                   19   can I ask.
20        Q       Um-hum.                                              20           Q    So, yeah, whether it would be an emergency or
21        A       Especially if it's something that I                  21   not would be a big factor?
22   personally observed. Like if I observed them trying               22           A    Yes.
23   to buy drugs and that's why they're sitting there --              23           Q    So if there's an emergency, you would just
24        Q       Um-hum.                                              24   act quicker without seeking more details. Is that
25        A       -- like tell me about it.                            25   fair?


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1          A     Yes.                                                1    correct. As you said, a source of information is
2          Q     And if it's a non-emergent situation, you           2    simply providing information.
3    have some time to ask questions, would it be fair to            3         Q      Okay. Did you have any involvement in the
4    say you would ask more questions?                               4    actual drafting and filing of the criminal charges
5          A     Yes, sir.                                           5    against Mr. Barasky?
6          Q     Okay. Now, the NEU, I believe you stated            6         A      I don't believe so.
7    this, had different policies for operating with                 7         Q      Did you have any involvement in Mr. Barasky's
8    confidential sources and informants. Is that right?             8    case as it progressed through the Lycoming County
9          A     Yeah.                                               9    courts?
10         Q     Okay. And you would agree they had actual           10        A      As far as the courts, like -- no.
11   written policies on how you were supposed to use                11        Q      Did you speak with Detective Dent at all
12   confidential informants during your investigations?             12   regarding Mr. Barasky's case after Barasky was
13         A     As far as the forms we fill out or --               13   arrested?
14         Q     Let me show you.                                    14        A      Not to my recollection.
15         A     Okay.                                               15        Q      Did you speak with Tyson Havens at all
16               (Whereupon, a document was produced and             16   regarding Mr. Barasky's case after -- let's say after
17   marked as Plaintiff's Exhibit No. 1 for                         17   October 2nd?
18   identification.)                                                18        A      I don't recall, no.
19   BY MR. GRYSKEWICZ:                                              19        Q      The same question for Officer Bell. Did you
20         Q     This is marked as Plaintiff's Exhibit 1.            20   speak with Officer Bell about Mr. Barasky or his case
21   Take a look through it, let me know when you're done.           21   after October 2nd, 2020?
22         A     It's been a while since I've seen this. Yes,        22        A      Yeah. Sorry, I don't recall.
23   I have seen these forms before.                                 23        Q      Okay. When Mr. Barasky was arrested on
24         Q     Would you agree with me that that's a true          24   October 2nd, 2020, what did you believe was the
25   and accurate, albeit redacted copy of the NEU's                 25   probable cause to arrest him at that moment?

                                                                38                                                                    40
1    policies and regulations for informants?                        1         A      The day of the -- the day of the arrest?
2          A     Yes, sir.                                           2         Q      Yes. So this would be when, you know, his
3          Q     And were you told if Mr. Sumpter was a              3    vehicle stops, you know, he's ordered to get out of
4    confidential informant or a confidential source on              4    the car, what did you think the probable cause was to
5    October 2nd?                                                    5    arrest him at that point?
6          A     I don't recall.                                     6         A      We were told that it was -- he was bringing
7          Q     Do you know, is there a difference between a        7    narcotics to conduct a purchase -- or a buy. Sorry.
8    confidential source and a confidential informant?               8    So, yeah.
9          A     Yes.                                                9         Q      Now, after no narcotics were found on his
10         Q     Could you describe what that is?                    10   person, did you believe you still had probable cause
11         A     So a confidential informant to me would be          11   to continue Mr. Barasky's arrest?
12   someone who actually physically goes and participates           12        A      That's not my call.
13   in a case, such as a controlled buy. A confidential             13        Q      Okay. So you would have deferred to the
14   source is someone who would be hands off, simply                14   leading investigator at that point?
15   providing information to further a case.                        15        A      Yes, sir.
16         Q     Okay. And you would agree that the policies         16        Q      And that would have been, I suppose,
17   in front of you differentiate between a confidential            17   Detective Dent?
18   source and a confidential informant?                            18        A      Yes.
19         A     Informant as far as the information? Yes.           19        Q      Would that have also been Joshua Bell since
20         Q     So these regulations would refer to a               20   he was the supervisor?
21   confidential source as a source of information, or is           21        A      I -- I don't know.
22   that incorrect?                                                 22        Q      Okay. To the best of your knowledge, did you
23         A     Can I read it quick? Sorry.                         23   have any conversations with people about whether, you
24         Q     Absolutely. Take your time.                         24   know, probable cause existed or not after Mr. Barasky
25         A     It's been a couple years since I had --             25   was in handcuffs?


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1          A      I don't recall, no.                                  1           Q      Do you know whether or not Chief Hope ever
2          Q      Okay. We previously discussed that your              2    drew his firearm to get Mr. Barasky to comply with
3    employment with the NEU and Williamsport Bureau of                3    orders to exit the vehicle?
4    Police were kind of occurring at the same time. Did               4           A      I do not.
5    they write you separate paychecks or was it                       5                  MR. KOZLOWSKI: Those are all the question I
6    Williamsport Bureau of Police paying you?                         6    have for you. Thank you, sir.
7          A      Williamsport police.                                 7                  MR. HARTLEY: I have no questions.
8          Q      Okay. Was employment as a police officer             8                  MS. LAUGHLIN: I don't have anything.
9    your only source of income in 2020?                               9                  MR. GRYSKEWICZ: I have no follow up. Thank
10         A      Yes.                                                 10   you.
11         Q      What was your annual pay from employment as a        11                 (Whereupon, the deposition was concluded at
12   police officer in 2020?                                           12   10:40 a.m.)
13         A      Let me think.                                        13

14                MS. LAUGHLIN: You can estimate, if you can.          14

15                THE WITNESS: Okay. I think it was the max            15

16   patrol rate, which I don't know. I mean, can I give               16

17   like a broad estimation?                                          17

18   BY MR. GRYSKEWICZ:                                                18

19         Q      Yeah. Just say it's an estimate if it's an           19

20   estimate.                                                         20

21         A      70 to 80 a year.                                     21

22         Q      Okay.                                                22

23         A      I don't know what that would break down to           23

24   hourly.                                                           24

25                MR. GRYSKEWICZ: I don't have any other               25


                                                                  42                                                                          44
1    questions.                                                        1    COUNTY OF UNION                         :
2                 THE WITNESS: Yeah.                                   2    COMMONWEALTH OF PENNSYLVANIA
                                                                                                     :
3                 MS. LAUGHLIN: The other attorneys may.               3

4                                   CROSS-EXAMINATION                  4                  I, Ervin S. Blank, the undersigned Notary
5    BY MR. KOZLOWSKI:                                                 5    Public, do hereby certify that personally appeared
6          Q      So I'm going to make it very quick.                  6    before me, CLINTON GARDNER; the witness, being by me
7          A      Okay.                                                7    first duly sworn to testify the truth, the whole truth
8          Q      You have my word. My name is Mark Kozlowski.         8    and nothing but the truth, in answer to the oral
9    I represent the Old Lycoming Township Defendants in               9    questions propounded to him by the attorneys for the
10   this case.                                                        10   respective parties, testified as set forth in the
11                I want to bring you back to the felony stop          11   foregoing deposition.
12   conducted in this case on October 2, 2020, that you               12                 I further certify that before the taking of
13   talked about. You -- you testified that Chief Hope                13   said deposition, the above witness was duly sworn,
14   was the -- I'll call it the lead car in pulling over              14   that the questions and answers were taken down
15   Mr. Barasky. Is that right?                                       15   stenographically by the said Ervin S. Blank, Court
16         A      Yes.                                                 16   Reporter, Lewisburg, Pennsylvania, approved and agreed
17         Q      Okay. Once Mr. Barasky is stopped, who               17   to, and afterwards reduced to typewriting under the
18   actually removed Mr. Barasky from the vehicle?                    18   direction of the said Reporter.
19         A      I don't recall.                                      19                 In testimony whereof, I have hereunto
20         Q      Do you know specifically, as you sit here,           20   subscribed my hand this 12th day of April, 2024.
21   whether or not Chief Hope did that?                               21

22         A      I don't.                                             22

23         Q      Do you recall, as you sit here, whether or           23                                        __________________________
                                                                                                                 Ervin S. Blank
24   not Chief Hope exited his vehicle at all that day?                24                                        Reporter-Notary Public
                                                                                                                 My Commission Expires
25         A      I do not.                                            25                                        January 28, 2025


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